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                            UNITED STATES DISTRICT COURT
                                      FOR THE
                              DISTRICT OF CONNECTICUT

 JANEL GRANT,                                            )
                                                         )
                               Plaintiff,                )    Civil Action No. 3:24-cv-00090-SFR
                v.                                       )
                                                         )
 WORLD WRESTLING ENTERTAINMENT, INC.,                    )
 a/k/a WORLD WRESTLING ENTERTAINMENT,                    )
 LLC; VINCENT K. MCMAHON; and JOHN                       )
 LAURINAITIS,                                            )
                                                         )
                               Defendants.               )


        STIPULATION AND [PROPOSED] ORDER CLARIFYING SCHEDULE

       WHEREAS, on January 25, 2024, Plaintiff Janel Grant filed a Complaint against

Defendants World Wrestling Entertainment, LLC, Vincent K. McMahon, and John Laurinaitis,

initiating the above-captioned action in this Court (ECF No. 1);

       WHEREAS, the Defendants have twice filed pre-answer motions to compel arbitration,

both of which the Court has denied without prejudice to renew (ECF Nos. 68, 93);

       WHEREAS, on May 7, 2025, the Court entered an order granting Plaintiff’s motion to

amend the Complaint, and ordered that Plaintiff file the Amended Complaint on or before May 14,

2025 (ECF No. 115);

       WHEREAS, on May 7, 2025, the Court entered an order granting Defendants’ motions to

stay discovery, staying Rule 26(f) requirements, and setting a briefing schedule for Defendants’

forthcoming renewed motions to compel arbitration, which schedule requires Defendants to renew

their respective motions by June 13, 2025, and which also sets a schedule for Plaintiff to move for

motion-related discovery (ECF No. 116);

       WHEREAS, on May 7, 2025, Plaintiff filed the Amended Complaint (ECF No. 117);
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       WHEREAS, the parties have conferred and agree that the Court’s May 7, 2025 schedule

(ECF No. 116) governs the forthcoming deadlines in this case, and otherwise serves to suspend any

deadlines that would have otherwise been imposed to answer, move, or otherwise respond to the

Amended Complaint;

       IT IS HEREBY STIPULATED AND AGREED by the parties hereto, through their

undersigned counsel, subject to the approval of the Court, that:

               1. Any applicable deadline(s), pursuant to the Federal Rules of Civil Procedure for

                   Defendants to serve answers, other responsive pleadings, or motions, including

                   any motions pursuant to Federal Rule of Civil Procedure 12(b), shall be

                   suspended pending the Court’s adjudication of Defendants’ motions to compel

                   arbitration;

               2. In the event that the Court denies, in whole or in part, one or more of Defendants’

                   motions to compel arbitration, the Defendant(s) whose motion(s) have been

                   denied shall serve answers or responsive pleadings, including any motions

                   pursuant to Federal Rule of Civil Procedure 12(b), within 30 days after the Court

                   denies the motion(s) to compel arbitration; and

               3. In the event Defendants file any motions, other than their motions to compel

                   arbitration, including any motions pursuant to Federal Rule of Civil Procedure

                   12(b), Plaintiff shall have 30 days to oppose, and Defendants shall have 21 days

                   thereafter for any reply.



Date: May 21, 2025




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                               Respectfully submitted,

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                                      Attorneys for Plaintiff Janel Grant




SO ORDERED this __ day of __________________, 2025.



_____________________________________
SARAH F. RUSSELL
United States District Judge




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                                 CERTIFICATE OF SERVICE

       I certify that on May 21, 2025, a copy of the foregoing was filed electronically. Notice of

this filing will be sent by email to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s CM/ECF system.



                                                       /s/ Jessica T. Rosenberg




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